            Case 1:24-cv-03385-BMC Document 2 Filed 05/08/24 Page 1 of 3 PageID #: 25

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

  MILTON ISMAEL GARCIA MIRANDA, individually                         )
                  and on behalf                                      )
           of others similarly situated,                             )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 24-cv-3385
                                                                     )
 BK AUTO REPAIR & COLLISION LLC. (D/B/A BK                           )
 WASH & REPAIR CENTER), MOHAMMED AWAD,                               )
         and MOHAMMAD HASSAN,                                        )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) see attached rider




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Catalina Sojo
                                           CSM Legal P.C.
                                           60 East 42nd Street, Suite 4510
                                           New York, New York 10165



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                BRENNA B. MAHONEY
                                                                                CLERK OF COURT


Date:             05/08/2024
                                                                                          Signature of Cl
                                                                                                       Clerk or Deputy Clerk
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 Civil Action No. 24-cv-3385

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -------------------------------------------------------X
 MILTON ISMAEL GARCIA MIRANDA,
 individually and on behalf of others similarly
 situated,                                                   Index No.

                                                             RIDER TO REQUEST FOR
                                       Plaintiff,
                                                             SUMMONS
                    -against-


 BK AUTO REPAIR & COLLISION LLC.
 (D/B/A BK WASH & REPAIR CENTER),
 MOHAMMED AWAD, and MOHAMMAD
 HASSAN,

 Defendants

 .-------------------------------------------------------X



BK Auto Repair & Collision LLC. (d/b/a BK Wash & Repair Center)
862 4th Avenue,
Brooklyn, NY 11232

Mohammed Awad
862 4th Avenue,
Brooklyn, NY 11232

Mohammad Hassan
862 4th Avenue,
Brooklyn, NY 11232
